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      BRONSTER LLP                                                                           bronsterllp.com



      Michael J. Zacharias, Esq.                    156 West 56th Street, Suite 902 | New York, NY 10019
      mzacharias@bronsterllp.com                    T. 347.246.4879 | F. 347.246.4893

                                                                      October 16, 2020

      VIA ECF
      Hon. Lorna G. Schofield
      Thurgood Marshall U.S. Courthouse
      40 Foley Square
      New York, New York 10007

                      Re: United States v. Natalya Grabovskaya
                          16-CR-00755 (LGS)

      Dear Judge Schofield:

             This office represents Ms. Grabovskaya in this matter. Ms. Grabovskaya has been fully
      compliant with all her conditions of release. Therefore, Counsel for Ms. Grabovskaya, with the
      consent of the Government and Pretrial Services, respectfully request jointly that Ms.
      Grabovskaya’s supervision be reduced to web reporting only.

               Please feel free to reach out to me directly should you have any questions.

                                                                    Sincerely,

Application Granted. The Clerk of the Court is directed             ___________________________
to terminate the letter motion at docket number 31.                 Michael J. Zacharias, Esq

Dated: October 20, 2020
New York, New York




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